                    CF?-i6-00256-                             SMt
           UNITED STATES DISTRICT COURT

               NORTHERN DISTRICT OF CALIFORNIA

                        SAN JOSE DIVISION                              n         '



                   THE UNITED STATES OF AMERICiPSl
                                     vs.                                     %
                      ELIZABETH A. HOLMES &
                     RAMESH "SUNNY" BALWANI


                     SUPERSEDING INDICTMENT

    COUNT 1:                 18 U.S.C. § 1349 - Conspiracy to Commit Wire Fraud
                             against Theranos Investors

    COUNT 2:                 18 U,S,C. § 1349 - Conspiracy to Commit Wire Fraud
                             against Doctors and Theranos Patients

    COUNTS 3-8:              18 U.S.C. § 1343 - Wire Fraud

    COUNTS 9-11:             18 U.S.C. § 1343 - Wire Fraud

    A true bilL
V                                                                   Foreperson




                        Filed in open co            c/^'day of_
                        A.D. 201^
                                                    United States Magistrate Judge




         Bail
